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                        UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF LOUISIANA

DARCY ROAKE, et al.,

                              PLAINTIFFS,

v.                                          Civil Action No. 3:24-cv-517

CADE BRUMLEY, et al.,                       Judge: JWD - SDJ

                            DEFENDANTS.




 DEFENDANTS’ SUPPLEMENTAL BRIEF REGARDING EXPERT REPORT AND
       MOTION TO EXCLUDE PUTATIVE EXPERT TESTIMONY
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                                         INTRODUCTION

        In accordance with the Court’s order, ECF 37, Defendants submit this supplemental brief

concerning expert testimony and move the Court to exclude the expert testimony of Professor Steven

Green as both not reliable and not relevant.

        Green’s proposed testimony is not reliable for at least three reasons. First, Green’s failure to

identify any external standard validating his methodology renders his testimony unreliable. Second,

Green’s testimony attempts to overrule the Supreme Court on historical questions it has already

definitively asked and answered. And third, Green’s background as an advocate—including a decade

as counsel for one of the impact-litigation law firms representing Plaintiffs—means his proffered

opinions are not truly independent and are thus unreliable.

        Green’s testimony is also not relevant. It does not help to decide any fact at issue in this case

because it is not directed at the governing Establishment Clause standard. That standard is not

concerned with whether a specific challenged practice occurred in the past, but instead with whether

the current challenged practice reflects any of the already-identified historical hallmarks of a religious

establishment. Since Green’s testimony does not address the hallmarks at all, it is not relevant.

Moreover, even under Plaintiffs’ erroneous test, Green’s proposed testimony is irrelevant because it

does not tend to establish any fact at issue: the historical facts are not in dispute, just how to

characterize those facts. And that is a question for the Court, not an expert witness.

        Given the lack of reliability and relevance, the Court should exclude Green’s proposed

testimony altogether. Alternatively, Green’s testimony should be completely disregarded.

                                        LEGAL STANDARD

        The burden is on the party offering the expert testimony to establish by a preponderance of

the evidence that it is admissible. Moore v. Ashland Chem., Inc., 151 F.3d 269, 276 (5th Cir. 1998) (en

banc). Expert opinion testimony must meet two threshold requirements—reliability and relevance. See



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Daubert v. Merrell Dow Pharms. Co., 509 U.S. 579, 595–97 (1993). The court must make a “preliminary

assessment of whether the reasoning or methodology underlying the testimony is scientifically valid

[the reliability criterion] and of whether the reasoning or methodology can be applied to the facts at

issue [the relevance analysis].” Skidmore v. Precision Printing & Packaging, Inc., 188 F.3d 606, 617 (5th Cir.

1999) (quoting Daubert, 509 U.S. at 592–93). Daubert applies to all expert testimony, whether based on

“scientific, technical, or other specialized knowledge.” Fed. R. Evid. 702.1 The court must “make

certain that an expert, whether basing testimony upon professional studies or personal experience,

employs in the courtroom the same level of intellectual rigor that characterizes the practice of an

expert in the relevant field.” Kumho Tire Co. v. Carmichael, 526 U.S. 137, 152 (1999). The court “must

ensure the expert uses reliable methods to reach his opinions; and those opinions must be relevant to

the facts of the case.” Guy v. Crown Equip. Corp., 394 F.3d 320, 325 (5th Cir. 2004).

                                                   ARGUMENT

I.       Green’s proposed testimony is unreliable.

         Green’s testimony is unreliable because (1) he provides no objective, independent validation

of his methodology; (2) his proposed conclusions contradict decisions of the Supreme Court; and

(3) his background prevents him from providing a reliable opinion. Any one of these three reasons

suffices to exclude Green’s testimony.

         A. Green offers no independent validation of his methodology.

         To establish reliability under Daubert, an expert bears the burden of furnishing “some

objective, independent validation of [his] methodology.” Moore, 151 F.3d at 276. “The expert’s

assurances that he has utilized generally accepted [principles] is insufficient.” Brown v. Ill. Cent. R. Co.,

705 F.3d 531, 536 (5th Cir. 2013) (quoting Moore, 151 F.3d at 276). Green makes no effort to provide



1 The amended version of Fed. R. Evid. 702, which is designed to strengthen the “gatekeeping” duty of federal courts with

respect to proposed expert testimony, went into effect on December 1, 2023.


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such validation, citing absolutely no external standards for the methods he uses in reaching his

conclusions. See Green Rep. 3–4 (describing methodology without citing any standards). Indeed,

Green’s showing falls short even of the expert whose testimony was rejected in Brown. There, the

proposed expert’s “preliminary report mentioned a variety of public and private guidelines and

publications on roadway design and traffic control devices. However, the report failed to explain how

any of these authorities support [his] conclusions relating to the ‘narrow’ pavement, ‘skewed’ angle,

‘rough’ surface, and ‘steep’ incline of the Hartley Lane crossing.” Id. at 536. Here, Green has not

discussed any public or private widely-accepted guidelines for assessing historical conclusions, much

less explained how those authorities might support his specific conclusions.

        For example, while agreeing that the Ten Commandments in fact appear in the historic texts

cited by the Louisiana Legislature, Green Rep. 21–24, and that those texts “were used in many

common schools from their initial publication through the early twentieth century,” Green Rep. 24,

Green nevertheless concludes that use or display of the Ten Commandments was not “prominent”

or “widespread” in classrooms of prior centuries, Green Rep. 26. In reaching this conclusion, Green

offers no description at all of what standards expert historians might use to decide whether a particular

historical practice counts as “prominent” or “widespread” or whether those are even terms capable

of scientific evaluation. This is therefore exactly the kind of methodologically-untethered opinion

evidence both the Fifth Circuit and the Supreme Court have consistently warned against; indeed, no

court should “admit opinion evidence that is connected to existing data only by the ipse dixit of the

expert.” Burleson v. Tex. Dep’t of Crim. Just., 393 F.3d 577, 587 (5th Cir. 2004) (quoting Gen. Elec. Co. v.

Joiner, 522 U.S. 136, 146 (1997)); see also Joiner, 522 U.S. at 146 (“there is simply too great an analytical

gap between the data and the opinion offered”). Yet Green offers only his ipse dixit when it comes to

historical method and how a historian might reach conclusions about prominence or widespread-ness,




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or whether those are even terms amenable to expert evaluation. That complete absence of externally

validated methods alone suffices to make Green’s proposed testimony unreliable.

        B. Green’s conclusions have been expressly rejected by the Supreme Court and the
           Fifth Circuit.

        Green’s proposed testimony is also unreliable because he offers expert conclusions that

directly contradict the conclusions of the Supreme Court and the Fifth Circuit. For example, Green

opines that “the Ten Commandments are not a foundation of the American government or legal

system.” Green Rep. 5. But in American Legion, the Supreme Court held that “[the Ten

Commandments] have historical significance as one of the foundations of our legal system.” Am.

Legion v. Am. Humanist Ass’n, 588 U.S. 29, 53 (2019) (citing Van Orden v. Perry, 545 U.S. 677, 688–90

(2005)). The Court proceeded to explain that “for largely that reason, they are depicted in the marble

frieze in our courtroom and in other prominent public buildings in our Nation’s capital.” Id. Similarly,

the Fifth Circuit stated in Van Orden that

        [e]ven those who would see the decalogue as wise counsel born of man’s experience
        rather than as divinely inspired religious teaching cannot deny its influence upon the
        civil and criminal laws of this country. That extraordinary influence has been
        repeatedly acknowledged by the Supreme Court and detailed by scholars. Equally so
        is its influence upon ethics and the ideal of a just society.

Van Orden v. Perry, 351 F.3d 173, 181 (5th Cir. 2003), aff’d, 545 U.S. 677 (2005). The question of

whether the Ten Commandments lie at the foundation of American law has been asked and

answered—they do. But Green’s proposed testimony directly contradicts these holdings and is

therefore ipso facto unreliable.

        C. Green’s background renders his proposed testimony unreliable.

        Determining reliability of expert testimony “requires more than a glance at the expert’s

credentials; the court must also ensure that the expert has reliably applied the methods in question.”

Harris v. FedEx Corp. Servs., Inc., 92 F.4th 286, 303 (5th Cir. 2024) (quoting United States v. Valencia, 600




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F.3d 389, 423–24 (5th Cir. 2010)). Here, however, the proposed expert’s credentials themselves

demand more than passing attention because they too demonstrate the unreliability of his testimony.

        First, aside from his proposed testimony in this case, Green’s views of history and the

application of law to history have been consistently rejected by the United States Supreme Court. In

his expert report, Green mentions an amicus brief he filed in 2005. Green Rep. 2 (describing McCreary

County brief). Although Green omits any mention of the amicus briefs he has filed since 2005, he

presents the information left out of his expert report on his faculty website:

        [Green] has authored and collaborated on more than 25 amicus curiae (friend-of-the-
        court) briefs at the U.S. Supreme Court, most recently in Carson v. Makin (2022),
        Kennedy v. Bremerton School District (2022), Espinoza v. Montana Department of
        Revenue (2019), American Legion v. American Humanist Association (2019),
        Masterpiece Cakeshop v. Colorado Civil Rights Commission (2018), Trinity Lutheran
        Church v. Comer (2017), and Hobby Lobby v. Burwell (2014).

See https://willamette.edu/law/faculty/profiles/green/index.html.

        In every single case Green lists, the Supreme Court ruled against the understanding of the

First Amendment and the related history Green advocated. A consistent record of rejection by the

United States Supreme Court of one’s conclusions about legal history over an almost 20-year period

indicates unreliability of proposed expert testimony, not reliability.

        Second, Green has taken positions in academic writing that contradict the positions he takes

in his expert report. For example, he has explained elsewhere that “[i]t is axiomatic that many of the

principles contained in the Ten Commandments are fundamental to the Western legal tradition….

Few people, if any, would dispute that the Ten Commandments … inform our notions of right and

wrong and, as such, have influenced the development of Western law of which the American legal

system is part.” Steven K. Green, The Fount of Everything Just and Right? The Ten Commandments as a Source

of American Law, 14 J.L. & Rel. 525, 525, 530 (1999-2000). He has also described the notion that the

“Ten Commandments [have] been indirectly inspirational in the formation of legal norms” as “a

relatively noncontroversial proposition.” Id. at 530. Louisiana does not claim that the Ten


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Commandments is “The Fount of Everything Just and Right,” merely that the Ten Commandments

are a noteworthy part of the American legal tradition and thus worthy of their corresponding place in

American public education. One might therefore think that Green would have no objection to

Louisiana’s display of the Ten Commandments. But Green’s expert report takes the opposite position.

         Third, Green worked for over a decade for Plaintiffs’ counsel Americans United for Separation

of Church and State (AUSCS), indicating potential for bias.2 To be sure, employees or former

employees can sometimes testify as experts. But here there is a significant difference: Green both

directed AUSCS’s litigation practice for over a decade and represented AUSCS in cases touching on

the very Establishment Clause issues presented in this case. Green was an impact litigator and strategist

chiefly concerned with shaping Establishment Clause law. These circumstances reinforce that (a) his

failure to demonstrate objective validation of his methodology and (b) the Supreme Court’s repeated

rejection of his historical conclusions doom any claim that Green’s testimony is reliable.

II.      Green’s proposed testimony is not relevant.

         Green’s proposed expert testimony should also be excluded because it is not relevant under

either the governing historical-hallmarks Establishment Clause standard or Plaintiffs’ (erroneous)

historical-practices test.

         A. Green’s proposed testimony does not “help” the Court decide the case under the
            governing Establishment Clause standard.

         First, Green’s proposed testimony is not relevant because it is not directed at the governing

Establishment Clause standard. “Clearly, expert testimony does not ‘help’ if it is unrelated to facts at

issue or is based on factual assumptions that are not supported by the evidence.” 29 Wright & Miller,

Fed. Prac. & Proc. Evid. § 6265.2 & nn.2–3 (2d ed. 2023) (quoting Fed. R. Evid. 702 and collecting


2 Americans United for Separation of Church and State was founded as an anti-Catholic organization known as Protestants

and Other Americans United for Separation of Church and State, a history the organization has never publicly disavowed.
See, e.g., Protestants and Other Americans United for Separation of Church and State v. O’Brien, 272 F. Supp. 712 (D.D.C. 1967)
(Establishment Clause challenge to the United States Postal Service’s issuance of a Madonna and Child Christmas stamp).


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cases). See Bocanegra v. Vicmar Servs., Inc., 320 F.3d 581, 584 (5th Cir. 2003) (Rule 702 “requires a valid

scientific connection to the pertinent inquiry as a precondition to admissibility” (quoting Daubert, 509

U.S. at 592)).

        Here, Green’s proposed testimony is unrelated to the facts at issue, which are what Ten

Commandments displays will be shown in Louisiana schools and whether those displays evince any of

the historical hallmarks of a religious establishment. See Defs.’ MTD at 24–33, ECF 39. Whether Ten

Commandments displays existed in public or private schools in prior centuries, or whether the Ten

Commandments were taught in public or private schools, is not determinative of the relationship

between today’s displays and the historical hallmarks identified by the Supreme Court. Similarly, the

history of a “specific practice” tracing back to the Founding, or the private “views of Madison and

Jefferson” on the practice, are not “facts at issue” for purposes of Rule 702. Pls.’ Reply & MTD Resp.

28–29, ECF 47; Green Rep. 7–10, 18–26. Of course, the longstanding prominent role of the Ten

Commandments in American classrooms is of great educational relevance—presumably no one thinks

schoolchildren should be kept intentionally ignorant of those historical facts—but here what is

educationally relevant is not legally relevant.

        Indeed, Green’s testimony—and Plaintiffs’ overall approach to their case—rests on a

misunderstanding of the relevant historical analysis. The Supreme Court has already delineated the

historical hallmarks of a religious establishment. See Kennedy v. Bremerton Sch. Dist., 597 U.S. 507, 537 &

n.5 (2022) . So now all that remains for lower federal courts to do is determine whether a challenged

modern practice displays any of those hallmarks, using the “reasoning by analogy” that is “a

commonplace task for any lawyer or judge.” N.Y. State Rifle & Pistol Ass’n v. Bruen, 597 U.S. 1, 28–29

(2022). The whole point of the Court’s identification of the hallmarks was to give “busy local officials

and lower courts” guidance “they can rely on,” not leave them to sift through the historical record

from scratch or as curated by potentially agenda-driven experts. Shurtleff v. City of Boston, 596 U.S. 243,



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285–86 (2022) (Gorsuch, J., concurring in judgment). In short, historical experts are simply beside the

point under modern Establishment Clause analysis, and Green’s proposed testimony is no exception.

        B. The historical facts are not in dispute, merely their characterization.

        Green’s proposed testimony would also not be relevant even under Plaintiffs’ practice-focused

historical test, because there is no material disagreement among the parties about the historical facts.

Green agrees with the Louisiana Legislature that the Ten Commandments appeared in McGuffey’s

Readers, the New England Primer, and other historic classroom documents, and that those documents

were used in “many” schools for decades. Green Rep. 21–26; see also Ex. G, Faircloth Decl. ¶¶ 9–19.

The only disagreement is about whether the presence of the Ten Commandments in those documents

counts as “prominent” or “widespread.” But that is a question of characterizing the historical evidence,

not establishing historical facts. And merely characterizing the evidence is not a question for expert

testimony, but a question for the courts to decide. See, e.g., City of Tuscaloosa v. Harcros Chems., Inc., 158

F.3d 548, 565 (11th Cir. 1998) (“characterizations of documentary evidence” improper subject for

expert testimony “because the trier of fact is entirely capable of determining whether or not to draw

such conclusions without any technical assistance from McClave or other experts”).

                                             CONCLUSION

        Green’s testimony should be excluded or, in the alternative, disregarded completely.




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Dated: August 30, 2024           Respectfully submitted,

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                                 *pro hac vice granted




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